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' l. On February 27, 2001, at approx. 1740 hrs., the u/s interviewed
z Alfred Acosta DOB:O?/OS/BZ 45 Park Terrace apt#c tel 212-304-0249 at
the 43 Pct.. He stated he works for Parkchester as a mail clerk. He v
- took a cab at approx. 2100 hrs., a couple of days after the incident "'
f and called his friend Jeffrey. He spoke about the security officer 2
being shot in the head. Alfred stated he spoke to his friend like he
5 imagined himself being there. Alfred stated he did not witness the
incident and was working at 2000 E. Tremont ave as a clerk. n
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2. Alfred Vazquez did write a statement of what oooured and what he is
hearing from people in the v/o Parkchester.
3- Case active.
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